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Sandra Garza – Victim Impact Statement


Judge Hogan, thank you for allowing me to speak before you today and give my victim impact
statement. This is something I have been waiting two years for and it means a lot to me that I
am finally allowed to have my voice heard regarding the two defendants, Tanios, and Khater.
Since the insurrection and since Brian Sicknick’s death on January 7, 2021, I have seen ZERO
remorse from either defendant. I have not heard any statements of sorrow for participating in
the insurrection, for assaulting my long-time partner of over 11 years or any statements from
any of their family members. I find this reprehensible. I understand that their attorneys
probably advised them not to make any statements regarding Brian, BUT from a place of
humanity, this is not acceptable and disturbing. Expressing sorrow for the passing of someone
to their loved ones is not an expression of guilt, but an expression of being human!! I know if I
assaulted someone or participated in the planning of someone who was assaulted who later
died, I would be filled with remorse, pain, and anguish. Clearly, these two defendants do not
feel any empathy. Any sorrow they may feel is for themselves and the consequences they now
face.
This is further demonstrated by their actions in the days leading up to January 6th and the day
of. Both defendants went to great lengths to plan their attack on law enforcement with
defendant Khater having full knowledge that defendant Tanios was going to a gun store to
purchase items for the insurrection. Tanios originally tried to buy firearms, but when he was
told that was not legal by the gun store manager still would not back down and tried to buy
pepper ball guns. When that failed because he was told those weren’t legal either,
EXASPERATED, he settled on buying four cans of two types of bear spray. He knew FULL WELL
bear spray is not meant for human beings. Bear spray is meant to take down over 650-pound
grizzlies, yet he bought them intending to use them on innocent law enforcement officers.
Though there is no “proof” defendants Tanois and Khater used bear spray on Brian and the
other officers, considering Tanios bought bear spray and Khater yelled, “Give me that bear shit”
once they were in the crowd in Washington, D.C., a reasonable person can infer that was the
chemical substance used on Brian.
Once Brian was sprayed in the face, he was incapacitated. Khater and Tanios thought nothing
of the fact that approximately over 30,000 angry people were wanting law enforcement
officer’s heads and that while he was incapacitated, he could have easily been overpowered
and rioters could have taken his gun. This angers me that even after he was sprayed in the
face, they continued to stay in the crowd having no remorse for what just occurred. Further,
after the dust settled and defendants Tanios and Khater left the grounds, for MONTHS they
knew Brian had died, they knew they participated in the insurrection, and they did not turn
themselves into the FBI. This shows a callousness and maliciousness that disgusts me.
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Brian was such a wonderful, warmhearted, and caring person. He suffered and his life was
taken from me. I love Brian and I miss him dearly. I cried myself to sleep most nights after his
death. Just two nights ago, I was crying because I saw a movie on television we both loved
and watched frequently.
After his death, which was so public, not one single person had anything negative to say
about him. That’s why it hurts me so much that defendants Tanios and Khater assaulted him.
Had they gotten to know him, they would have liked him, and that is why it’s very sad and
very painful for me to accept what they did.
When he first died, I was disregarded by some in power because we weren’t married, and I
have been forced to minimize my own suffering. But we were together longer than some
marriages last.
 When you’re talking about a death, a death is extremely stressful on an individual and on a
family. The stress from January 6th has given way to a point of no return for many in law
enforcement and their families. The stress has had a significant impact on our health and
well-being. There are times when I have felt beaten down. Every day, I have to muster the
strength to be a powerful voice for Brian. It’s hard for me, and it takes its toll on my health
and well-being. But I am willing to go the extra lengths to ensure justice for Brian. All
individuals that participated in the insurrection need to be held accountable for their actions.
Prior to having fully processed all of this, I did have some empathy for defendants Khater and
Tanios. I saw them as people who were brainwashed by our former President. Two young men
who were fed lies and thought they were doing the right thing by America. As a clinical social
worker, I know we are all shaped by genetics, early childhood experiences, adult life
experiences, any trauma we have encountered and that some brains are more vulnerable to
persuasion by charismatic characters in our world. However, as I reflected on everything, I
realized I didn’t see a shred of remorse, or sorrow or any attempts for them to make a
statement through their attorneys or family members. It was then I realized they aren’t sorry
for their actions.
For this reason, Judge Hogan, I am asking for the maximum sentence you can impose. I realize
it will not bring back Brian, nor give him peace in his last moments on earth, but it will give
some sense of justice in my universe.
Thank you.
